                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:10-00065
                                               )           JUDGE CAMPBELL
QUINCY MAURICE FUQUA                           )


                                            ORDER

       Pending before the Court is the Government’s Motion For Extension Of Time To

Respond To Motion For New Trial (Docket No. 283). Through the Motion, the Government

seeks an extension of time, until March 12, 2013, in which to respond to the Defendant’s

pending Motion For New Trial.

       The Motion is GRANTED. Accordingly, the Government shall have until March 12,

2013 in which to respond to the Defendant’s Motion.

       It is so ORDERED.



                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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